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            Case 1:22-cv-00221 Document 1-1 Filed 06/17/22 Page 1 of 21                          Grafton Superior Court
                                                                                                       E-Filed Document




                                 STATE OF NEW HAMPSHIRE

GRAFTON, SS                                                                 SUPERIOR COURT

                            215-2022-CV-00127
                 Case No. __________________________________________

                                        Ida Maria Gobbini,

                                       Plaintiff-Respondent,

                                                -v-

                                 Trustees of Dartmouth College,

                                      Defendant-Petitioner.



   PETITION FOR REMOVAL TO SUPERIOR COURT AND REQUEST FOR JURY
                  TRIAL PURSUANT TO RSA 354-A:21-a


       Defendant-Petitioner Trustees of Dartmouth College (“Dartmouth” or “Defendant”), by

and through the undersigned counsel, hereby removes the Human Rights Commission Charge of

Discrimination filed against it by Plaintiff-Respondent Ida Maria Gobbini, Ph.D. (“Plaintiff”) to

this Court for pretrial proceedings and a jury trial pursuant to RSA 354-A:21-a.

       1.      Plaintiff filed a Charge of Discrimination against Dartmouth with the New

Hampshire Commission for Human Rights (“Commission”) on or about October 30, 2018,

together with a First Supplement to her Charge of Discrimination (dated April 5, 2019) and a

Second Supplement to her Charge of Discrimination (dated November 12, 2019). Plaintiff

alleged, inter alia, that Dartmouth’s decision to deny her tenure amounted to discrimination on

the basis of sex and retaliation in violation of RSA 354-A and Title VII of the Civil Rights Act of

1964. A copy of the Charge of Discrimination together with both supplements thereto, is




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attached as Exhibit A. Dartmouth properly and timely raised numerous defenses below, and

denies all claims of unlawful discrimination and retaliation made in those documents. The

Investigating Commission issued a finding of “probable cause” on or about May 18, 2022.

This preliminary finding is not a determination that discrimination or retaliation occurred;

rather, it represents a determination by the Investigating Commissioner that a reasonable

basis existed to support bringing additional proceedings in the nature of a public hearing

before the full Human Rights Commission. See RSA 354-A:21-a, I; BLACK’S LAW DICT.

1454 (11th ed. 2019).

       2.      No public hearing has been commenced.

       3.      Dartmouth hereby exercises its right to have pretrial proceedings and a jury trial

in this Court in accordance with RSA 354:21-a, I, and has provided or will provide appropriate

statutory notice to the Commission of the filing of this matter pursuant to RSA 354-a:21, II.

       4.      A copy of this Notice has been provided to Plaintiff through her counsel and to

the Commission.

       WHEREFORE, Dartmouth requests that this Honorable Court:

               A.       Schedule this matter for pretrial proceedings and a jury trial in accordance
                        with RSA 354-A:21-a; and

               B.       Grant it such other and further relief as this Court deems just and
                        equitable.




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                                            Respectfully submitted,

                                            THE TRUSTEES OF DARTMOUTH COLLEGE

                                            By its attorneys,

                                            DEVINE, MILLIMET & BRANCH,
                                            PROFESSIONAL ASSOCIATION


Date: May 20, 2022                   By:    __/s/ Pierre A. Chabot____
                                             Pierre A. Chabot, Esquire (Bar # 17606)
                                             111 Amherst Street
                                             Manchester, NH 03101
                                             (603) 669-1000
                                             pchabot@devinemillimet.com



                                CERTIFICATE OF SERVICE

        I hereby certify that I have served a copy of Petition to Remove to Superior Court upon
Attorneys Lauren Simon Irwin and Alan Kabat, counsel for Plaintiff in this matter, by sending or
causing the same to be sent by email to each of them.



                                              By: /s/Pierre A. Chabot
                                                     Pierre A. Chabot




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                 Exhibit A
    Combined Charge of Discrimination and Supplements


    Ida Maria Gobbini v. Trustees of Dartmouth College


                  No. ________________
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EEOC Form 5(11/09)


                     Charge of Discrimination                                                           Charge Presented To:             Agency(ies) Charge No(s):
           This form is affected by the Privacy Act of 1974, See enclosed Privacy Act                          FERA
                  Statement and other information before completing this form.
                                                                                                               EEOC

                                              New Hampshire Commission for Human Rights                                                                   and EEOC
                                                                        Sfa/e or local Agency, if any
Name (mdicate Mr, Ms.. Mrs.)                                                                                    Home Phone (Incl. Area Code)            Date of Birth


Dr. Maria Ida Gobbini                                                                                             (609)933-4422
Street Address                                                                 City, State and ZIP Code

3 North Balch Street, Hanover, New Hampshire 03755

Named is the Employer, Labor Organization. Employment Agency. Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                            No. Employees, Members       Phone No.(Include Area Code)

Dartmouth College                                                                                                     3,000                    (603)646-3411
Street Address                                                                 City, State and ZIP Code

Dartmouth College, Office of Human Resources,7 Lebanon Street, Suite 203,
Hanover, New Hampshire 03755
Name                                                                                                            No. Employees. Members       Phone No.(Include Area Code)



Street Address                                                                 City, State and ZIP Code




DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                    DATE{S) DISCRIMINATION TOOK PLACE
                                                                                                                                Earliest                    Latest


  □ RACE
    RACE I□I COLORCOLOR     SEX □ RELIGION □                                                 NATIONAL ORIGIN                 01/14/13                    10/23/19

       RETALIATION □ AGE □ DISABILITY    □                                              GENETIC INFORMATION


        B OTHER (Specify) RSA 354-A                                                                                             B          CONTINUING ACTION


THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
   Please see Attachment A.




                                                                                             NOTARY - When necessa             te and Loca            equiroments
 I want this charge filed with both the EEOC and the Stale or local Agency, If any. I
will advise the agencies if I change my address or phone number and I will
cooperate fully with them in the processing of my charge in accordance with their
procedures.                                                                                  I swear or affirm that I have read the above charge and that it is true to
  declare under penalty of perjury that the above is true and correct.                       the best of my knowledge, information and belief.
                                                                                             SIGNATURE OF COMPLAINANT



                                                                                             SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                             (month, day. year)

                                               Charging Party Signature
            Date
                                                                                                              .2ol9
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EEOC Form 5 (11/09)


                      Charge of Discrimination                                                    Charge Presented To:            Agency(ies) Charge No(s):
          This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                  1 1 FEPA
                 Statement and other information before completing this form.
                                                                                                            EEOC

                                             New Hampshire Commission for Human Rights                                                              and EEOC
                                                                      Sfafe or local Agency, if any
THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
  Please see Attachment A.




                                                                                            NOTARY - When neces                and Lo                ireivenrs
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will advise the agencies if I change my address or phone number and I will
cooperate fully with them in the processing of my charge in accordance with their
procedures.                                                                                 I swear or affirm that I have read the above charge and that it is true to
I declare under penalty of perjury that the above is true and cotrect.                      the best of my knowledge, information and belief.
                                                                                            SIGNATURE OF COMPLAINANT



                                                                                            SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                            {month, day, year)
  K           r 2-0o                                                           —-
                                                Charging Parly Signature
            Date
                                                                                            iKJCyJ C
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          SECOND SUPPLEMENT TO ATTACHMENT A - Ida Gobbini,Ph.D.

Paragraphs 20 through 26 are hereby added to Attachment A as follows;

       20.     On October 20, 2019, Dr. Peter Tse, a tenured faculty member in Dartmouth's
Department of Psychological and Brain Sciences ("PBS"), who also served on Dr. Gobbini's
tenure review committee, sent an email to the entire junior faculty in PBS that specifically
blamed Dr. Gobbini(and her husband, Dr. Jim Haxby) for the recent suicide of Dr. David Bucci,
former PBS Chair.

       21.     Dr. Bucci committed suicide during the week of October 15, 2019, after a life
long battle with severe depression. Drs. Gobbini and Haxby previously named Dr. Bucci in their
NHCHR/EEOC charges as having made sexist remarks about Dr. Gobbini in the workplace, and
for having failed to take action when Dr. Gobbini complained about gender discrimination in the
workplace. Dr. Bucci was further named in a recent lawsuit initiated by PBS graduate students —
Rapuano v. Trustees ofDartmouth College -for having failed to take action when the students
complained to him (in his capacity as then-Director of Graduate Studies and then-PBS Chair)
about sexual harassment and discrimination by several faculty members in PBS.
       22.      Following the news of Dr. Bucci's suicide, Dr. Tse emailed the entire PBS junior
faculty, attaching Dr. Gobbini's NHCHR/EEOC charge. Dr. Haxby's NHCHR/EEOC charge
(related to Dartmouth's retaliation against him for opposing its discriminatory and retaliatory
conduct against Dr. Gobbini), and the purportedly "confidential" report of Dartmouth's internal
investigation of Dr. Gobbini's allegations of gender discrimination and retaliation. Dr. Tse's
email stated the following:
        Because of Dave's [Bucci's] suicide, and the importance of having an open, even
        if painful discussion about how to move forward as a dept., I feel it important that
        the junior faculty now know about accusations made against Dave that he took
        very very hard, and that made him extremely angry. False accusations from the
        plaintiffs [in Rapuano],followed by these second false accusations, were
        contributing factors to his mental breakdown, in my view.

        23.     By "these second false accusations," Dr. Tse was clearly referring to Dr.
Gobbini's and Dr. Haxby's legal claims involving Dr. Bucci, given the attachments to his email.
These statements are defamatory, and constitute further retaliation against Dr. Gobbini for
bringing legal claims against Dartmouth based on its discriminatory and retaliatory denial of her
tenure, against Dr. Haxby for opposing this discrimination and retaliation, and against both Drs.


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Gobbini and Haxby for filing administrative charges against Dartmouth with the NCHRC and
the EEOC.

       24.      Dr. Tse's retaliatory statements have seriously damaged Dr. Gobbini's reputation
within Dartmouth, and, in particular, among the junior faculty in PBS, who are likely to believe
Dr. Tse's accusation that Dr. Gobbini and Dr. Haxby are responsible for Dr. Bucci's suicide. Dr.
Tse's false and retaliatory statements have further caused Dr. Gobbini severe emotional distress.
       25.      On October 21,2019, counsel for Drs. Gobbini and Haxby wrote to Dartmouth
and demanded that Dartmouth immediately repudiate Dr. Tse's statements, and further retract
them (or order that Dr. Tse retract them), with notification to the entire faculty of PBS, and
anyone else to whom Dr. Tse or others may have made or republished these statements.
       26.      In response, by letter dated October 23, 2019, Dartmouth's counsel refused to
repudiate or retract the retaliatory and defamatory statements. Instead, Dartmouth's counsel
wrongfully accused Drs. Gobbini and Haxby of using Dr. Bucci's suicide to "enhance" their
"litigation posture" against Dartmouth. To the contrary, it is Dr. Tse - and now, Dartmouth-
who used the news of Dr. Bucci's tragic passing as an opportunity to defame Drs. Gobbini and
Haxby, and attack their litigation positions against Dartmouth, in retaliation for their engaging in
protected activity by filing administrative charges against the College.


                                                        Kx>\J
I declare, under penalty of perjury, this S day of October, 2019, that the foregoing is true
and accurate.




                                                                JjZ— CSfcJ^2_l.
                                                      Ida Gobbini, Ph.D.




                                                                 11   /^(


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                                                                                         ---- -V
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